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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THE BOARD OF TRUSTEES OF THE                        )
UNIVERSITY OF ILLINOIS,                             )       Case No. 21-cv-06546
                                                    )
                              Plaintiff,            )       Hon. Judge John Robert Blakey
                                                    )
        v.                                          )
                                                    )
VINTAGE BRAND, LLC,                                 )
                                                    )
                              Defendant.            )

                                    NOTICE OF MOTION

TO:      Andrew L. Goldstein, Esq., D. Richard Self, Esq., and Jeffrey J. Catalano, Esq.
                                   Freeborn & Peters LLP
                             311 South Wacker Drive, Suite 3000
                                   Chicago, Illinois 60606
       Email: agoldstein@freeborn.com; dbecker@freeborn.com; jcatalano@freeborn.com

       PLEASE TAKE NOTICE that on the 21st day of April, 2022, at 11:00 a.m. we shall
appear before the Honorable Judge John R. Blakey or any other Judge sitting in his stead, in the
courtroom usually occupied by him in Room 1203, 219 South Dearborn Street, Chicago, Illinois,
and then and there present for hearing Defendant Vintage Brand, LLC’s Amended Motion for
Sanctions, a copy of which is hereby served upon you.

                                                     /s/ Theresa H. Wang
Theresa H. Wang
(pro hac vice)
STOKES LAWRENCE, P.S.
1420 Fifth Avenue, Suite 3000
Seattle, Washington 98101
Tel: (206) 626-0000
Email: theresa.wang@stokeslaw.com

                                     PROOF OF SERVICE

        I hereby certify that on April 5, 2022, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois, Eastern Division, the foregoing by using the CM/ECF
system, which will send notification of such filing(s) to all counsel of record.


                                                     /s/ Theresa H. Wang
